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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)



      RECEIVED IN CLERK'S OFFICE        UNITED STATES DISTRICT COURT
            u.s.o:c.• Atlanta
                                                                            for the
,.f
           DEC 1 7 2019                                     Northern District of Georgia         B
>      JW;~TTEN, Clerk
 By:      W'             Oeputy Clerk

                                                                                )     Case No.      1:19-CY-5644
                                                                                )                    (to be filled in by the Clerk's Office)
                  RICHARD L FERGUSON JR
                                                                                )
                              Plaintiff(s)
                                                                                )
(Write the full name of each plaintiff who is filing this complaint.
Ifthe names of all the plaintiffs cannotfit in the space above,                 )     Jury Trial: (check one) [L]Yes         DNo
please write "see attached" in the space and attach an additional               )
page with the full list of names.)                                              )
                                  -v-                                           )
                                                                                )
                                                                                )
                                                                                )
                   JP MORGAN CHASE BANK                                         )
--------------~
                              Defendant(s)                                      )
 (Write the full name ofeach defendant who is being sued. If the                )
 names of all the defendants cannot fit in the space above, please              )
 write "see attached" in the space and attach an additional page
 with the full list of names. Do not include addresses here.)



                                  COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                            (Non-Prisoner Complaint)


                                                                          NOTICE

        Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
        electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
        security number or full birth date; the full name of a person known to be a minor; or a complete financial account
        number. A filing may include only: the last four digits of a social security number; the year of an individual's
        birth; a minor's initials; and the last four digits of a financial account number.

        Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
        other materials to the Clerk's Office with this complaint.

        In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
        forma pauperis.




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I.        The Parties to This Complaint

          A.         The Plaintiff(s)

                     Provide the infonnation below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name                                         RICHARD L FERGUSON JR
                           Address                                      5275 CACTUS COVE LN
                                                                        BUFORD                      GA              30519
                                                                                   City            State            Zip Code
                           County                                       GWINNETT COUNTY
                           Telephone Number                             7705684193
                           E-Mail Address                               FERG2428@GMAIL.COM

          B.         The Defendant(s)

                     Provide the infonnation below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. I
                           Name                                         JPMORGAN CHASE BANK
                           Job or Title (ifknown)
                           Address                                      1111 POLARIS PARKWAY
                                                                        COLUMBUS                   OH               43240
                                                                                   City            State            Zip Code
                           County                                       Delaware
                           Telephone Number                             +1 (614)-890-1025
                           E-Mail Address (ifknown)

                                                                        D Individual capacity D Official capacity
                     Defendant No.2
                         Name
                           Job or Title (ifknown)
                           Address

                                                                                   City            State            Zip Code
                           County
                           Telephone Number
                           E-Mail Address (ifknown)

                                                                        D Individual capacity D Official capacity

                                                                                                                               Page 2 of 6
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                     Defendant No.3
                           Name
                           Job or Title (i/known)
                           Address

                                                                                                                     Zip

                           County
                           Telephone Number
                           E-Mail Address (i/known)

                                                                        D Individual capacity D Official capacity
                     Defendant NO.4
                           Name
                           Job or Title (i/known)
                           Address

                                                                                                    State            Zip Code
                           County
                           Telephone Number
                           E-Mail Address (i/known)

                                                                        D Individual capacity D Official capacity"
II.       Basis for Jurisdiction

          Under 42 U.S.c. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents 0/
          Federal Bureau o/Narcotics, 403 US. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.         Are you bringing suit against (check all that apply):

                     D     Federal officials (a Bivens claim)

                     D State or local officials (a § 1983 claim)
          B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.c. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




          C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                     are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                     officials?


                                                                                                                                Page 3 of 6
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          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.c. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law . Attach additional pages if needed.




III.     Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

         A.          Where did the events giving rise to your claim(s) occur?
                     I HAVE CALL EVIDENCE OF ALL CALL LOGS MADE FROM THE DEFENDANT.




         B.          What date and approximate time did the events giving rise to your claim(s) occur?
                     ALL CALLS AND THREATS TO CANCEL ACCOUNTS WERE DOCUMENTED.
                     DEC.4th(5:31 pm), DEC.5th(12:06pm), DEC.Sth(4:19pm), DEC 7th (8:18pm), DEC. 7th (12:20pm)
                     DEC. 7th (5:1Spm), DEC 7th (6:34pm), DEC 10th (1:38pm), DEC 10th (3:17pm) DEC10th (4:SSpm),
                     DEC l1th(12:0Spm), DEC11th (S:22pm), DEC 11th (4:10pm), DEC 12th (1:27pm), DEC 12th (4:36pm).



         C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)
                     Defendant knew or should have known that their actions violated the FDCPA, FCRA. Defendant' s
                     conduct, including but not limited to leaving Phone calls, for a debt constitutes an invasion of privacy.
                     The Defendant is liable to compensate for punitive damages, as well as such other relief, permitted
                     under the law. The Defendant unfair manner by engaging in any conduct the natural consequences of
                     which is to harass, oppress, or abuse any person. Defendant acted in a false, deceptive, misleading
                     and unfair by causing a telephone to ring or engaging any person in telephone conversation repeatedly
                     or continuously with intent to annoy, abuse,or harass any person at the called number.




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IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.




V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and! or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.

          I've already showed evidence of the claims and as a relief im seeking a settlement of $20,000 for damages.




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VI.      Certification and Closing

         Under Federal Rule of Civil Procedure II, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule II.



         A.          For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:                       12/13/2019


                     Signature of Plaintiff
                     Printed Name of Plaintiff
                                                             ~~.
                                                              RICHARD LAMARR FERGUSON JR


         B.          For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                                                             -- -     ...   ----------------------
                     Bar Number
                     Name of Law Firm
                     Address


                                                                                City        State          Zip

                     Telephone Number
                     E-mail Address




                                                                                                                       Page60f 6
